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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
____________________________________
PETRINA SMITH, et al.,               )
                                     )
            and                      )
                                     )
DREXEL ANDERSON, et al.,             )
                                     )
            Plaintiffs,              )
                                     )
v.                                   ) Case No.’s 19-1348C; 20-1878C
                                     ) Judge Carolyn N. Lerner
UNITED STATES OF AMERICA             )
                                     )
            Defendant.               )
                                    )

         PLAINTIFFS’ NOTICE OF FILING OPT-IN CONSENT TO JOIN FORMS
   PLEASE TAKE NOTICE that on April 28, 2023, Plaintiffs hereby filed with the Clerk of the

U.S. Court of Federal Claims the Consent to Join Forms of Iraneisha Anderson, Julius Davis, Hugh

Duffy, Cherldece Knox, Kiara Lee, Amanda Lewandowski, Jason Pohnert, Luisana Salazar,

Kelsey Williams, and Hope Wilson, copies of which is attached hereto as Exhibits A-J.

Dated: April 28, 2023                       Respectfully Submitted,

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               Exhibit A
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                 Exhibit J
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       I HEREBY CERTIFY that on this 28th day of April 2023, the foregoing Plaintiffs’ Notice

of Filing Opt-In Consent to Join Forms was electronically filed with the Clerk of the Court using

the ECF system, which sent notification of such filing to all counsel of record who have enrolled

and registered for receipt of filings via the Court’s ECF system.


                                                   /s/ Leeanna Carcione
